   Case 22-11246-amc         Doc 47    Filed 09/07/22 Entered 09/07/22 15:08:31            Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re                                                :
                                                             Chapter 13
                                                     :
 22-11246-amc Kemp N. Carter
                                                     :
               Debtor(s)
                                                     :

                                                ORDER

               AND NOW, it is

1.*( ) ORDERED that since we find that the debtor(s) have failed to pay the prescribed filing fee in
full within the requisite time period, this case, be, and the same hereby is, DISMISSED.

2.*( ) ORDERED that since we find that the debtor(s)' have failed to propose a plan, this case be, and
the same hereby is, DISMISSED

3.*( ) ORDERED that sine we find that the debtor(s) have failed to file a feasible plan, this case be
and the same hereby is, DISMISSED.

4.*( ) ORDERED that since we find that the debtor(s) have failed to attend the hearing mandated
under 11 U.S.C. Sec.341 and have failed to attend the hearing to explain their absence at the Sec. 341
hearing, this case be and the same hereby is, DISMISSED.

5.*( ) ORDERED that since the debtor(s) have failed to prosecute this case or to file timely their
required documents, this case be, and the same hereby is, DISMISSED, and within ten days of the entry
of this order, debtor's counsel shall submit a master list of creditors and, as required by Bankruptcy Rule
2016 (b), an itemized statement of attorney's fees unless current versions of both these documents are on
file with the Clerk.

6.*( ) ORDERED that since we find material failure to comply with the terms of a confirmed plan
under 11 U.S.C. Sec. 1307 (c)(6) this case be, and the same hereby is, DISMISSED.




   Date: September 7, 2022
                                                     ASHELY M. CHAN
                                                     United States Bankruptcy Judge


* Each numbered paragraph of this order is operative only if the box next to the number designating
that paragraph is checked.

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